Case 3:18-cv-00017-NKM-JCH Document 188 Filed 02/18/20 Page 1 of 7 Pageid#: 2644



                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                CHARLOTTESVILLE DIVISION


                                                        )
  BRENNAN M. GILMORE,                                   )
                                                        )
                  Plaintiff,                            )
                                                        )
  v.                                                    )   No. 3:18-cv-00017-NKM-JCH
                                                        )
  ALEXANDER E. (ALEX) JONES, et al.,                    )
                                                        )
                  Defendants.                           )
                                                        )
                                                        )

                                   PROPOSED SCHEDULING ORDER

         WHEREAS, the Court issued a proposed pretrial order on May 16, 2018; (D.I. 54);

         WHEREAS, the Court issued on May 29, 2018 an Order granting the parties’ consent Motion to Stay

 Discovery and Defer Entry of a Scheduling Order Pending Resolution of Defendants’ Motions to Dismiss

 (D.I. 61);

         WHEREAS, the Court set this case for jury trial on March 1-5, and March 8-10, 2021 (D.I. 186);

         WHEREAS, in response to the Court’s instruction on February 10, 2020, the parties have met and

 conferred and have agreed on a schedule to control the remainder of this action;

         The parties hereby submit their respective positions for deadlines that shall control the remainder of

 this action:

                                                                         Agreed
                                      Event
                                                                         Dates

                     Deadline to complete fact discovery
                                                                    August 31, 2020


                     Potential settlement / ADR
                     discussion                                   September 7, 2020
Case 3:18-cv-00017-NKM-JCH Document 188 Filed 02/18/20 Page 2 of 7 Pageid#: 2645




                                                               Agreed
                               Event
                                                               Dates

               Fed. R. Civ. P. 26(a)(2)(B) opening
               expert reports                            September 15, 2020


               Fed. R. Civ. P. 26(a)(2)(B)
               responsive expert reports                   October 15, 2020


               Fed. R. Civ. P. 26(a)(2)(B) reply
               expert reports (limited to subject
               matter first raised in responsive         November 13, 2020
               reports)

               Deadline to complete all discovery,       November 23, 2020
               including expert depositions.

               Deadline to file dispositive motions       December 1, 2020

               Deadline to file oppositions to
               dispositive motions                         January 4, 2021

               Deadline to file replies to dispositive
               motions                                     January 25, 2021

               Deadline for hearing dispositive
               motions                                   At Court’s Discretion

               Exchange list of witnesses expected
               to be called at trial                       February 8, 2021

               Deadline for filing motions in limine
                                                          February 15, 2021
               (copies to opposing counsel)

               Deadline for filing oppositions to
               motions in limine (copies to               February 22, 2021
               opposing counsel)

               Deadline for filing proposed jury
               instructions and special
                                                          February 22, 2021
               interrogatories (copies to opposing
               counsel)
Case 3:18-cv-00017-NKM-JCH Document 188 Filed 02/18/20 Page 3 of 7 Pageid#: 2646




                                                                  Agreed
                               Event
                                                                  Dates

               Deadline for filing joint pretrial
               order including:
               • any contested issues of law that
               require a ruling before trial;
               • the essential elements that a party
               must prove to establish any
               meritorious claims remaining for
               adjudication, and the damages or
               other relief sought;
               • the essential elements that a party
               must prove to establish any
               meritorious defenses;
                                                            February 22, 2021
               • the material facts and theories of
               liability or defense;
               • the issues of fact contested by each
               party;
               • any contested issues of law that do
               not require a ruling before trial;
               • any stipulations; and
               • any special voir dire questions


               **Disputed sections to be filed as
               separate addendum**

                                                          TBD by the Court. The
                                                          parties to be trial-ready
               Pretrial conference
                                                            by March 1, 2021


                                                             March 1-10, 2021
               Trial




 SO ORDERED:                                        By:
Case 3:18-cv-00017-NKM-JCH Document 188 Filed 02/18/20 Page 4 of 7 Pageid#: 2647



 Dated: February 18, 2020            Respectfully Submitted,



                                     By:      /s/ Anwar L. Graves
                                           Jonathan Hacker, admitted pro hac vice
                                           Anwar Graves, admitted pro hac vice
                                           O’MELVENY & MYERS LLP
                                           1625 Eye Street, N.W.
                                           Washington, DC 20006
                                           Telephone: (202) 383-5300
                                           Facsimile: (202) 383-5414
                                           agraves@omm.com
                                           jhacker@omm.com

                                           Hassen A. Sayeed, admitted pro hac vice
                                           O’MELVENY & MYERS LLP
                                           Times Square Tower
                                           7 Times Square
                                           New York, New York 10036
                                           Telephone: (212) 326-2000
                                           Facsimile: (212) 212 326-2061
                                           hsayeed@omm.com

                                           Andrew Mendrala, Virginia Bar No. 82424
                                           COHEN MILSTEIN SELLERS & TOLL
                                           PLLC
                                           1100 New York Avenue N.W., Fifth Floor
                                           Washington, D.C. 20005
                                           Telephone: (202) 408-4600
                                           Facsimile: (202) 408-4699
                                           amendrala@cohenmilstein.com

                                           Aderson Francois, admitted pro hac vice
                                           CIVIL RIGHTS CLINIC
                                           GEORGETOWN UNIVERSITY LAW
                                           CENTER
                                           600 New Jersey Avenue, N.W.
                                           Washington, D.C. 20001
                                           Telephone: (202) 662-9065
                                           Aderson.Francois@georgetown.edu

                                           Elizabeth B. Wydra, admitted pro hac vice
                                           Brianne J. Gorod, admitted pro hac vice
                                           CONSTITUTIONAL ACCOUNTABILITY
                                           CENTER
                                           1200 18th Street, N.W., Suite 501
                                           Washington, D.C. 20036
                                           Telephone: (202) 296-6889
                                           elizabeth@theusconstitution.org
Case 3:18-cv-00017-NKM-JCH Document 188 Filed 02/18/20 Page 5 of 7 Pageid#: 2648



                                          brianne@theusconstitution.org

                                          Attorneys for Plaintiff


                                         /s/ Thomas E. Albro signed with permission by
                                         Anwar L. Graves
                                         Thomas E. Albro (VSB #12812)
                                         Evan D. Mayo (VSB #89383)
                                         TREMBLAY & SMITH, PLLC
                                         105-109 E. High Street
                                         Charlottesville, VA 22902
                                         Telephone: (434) 977-4455
                                         Facsimile: (434) 979-1221
                                         tom.albro@tremblaysmith.com
                                         evan.mayo@tremblaysmith.com

                                         Elizabeth A. Scully (VSB #65920)
                                         Mark I. Bailen (admitted pro hac vice)
                                         Andrew M. Grossman (admitted pro hac vice)
                                         Richard B. Raile (VSB #84340)
                                         BAKER HOSTETLER LLP
                                         Washington Square, Suite 1100
                                         1050 Connecticut Avenue, N.W.
                                         Washington, DC 20036-5304
                                         Telephone: (202) 861-1500
                                         Facsimile: (202) 861-1783
                                         escully@bakerlaw.com
                                         mbailen@bakerlaw.com
                                         agrossman@bakerlaw.com
                                         rraile@bakerlaw.com

                                         Counsel for Defendants Alexander E. Jones,
                                         Infowars, LLC, Free Speech Systems, LLC and
                                         Lee Ann McAdoo a/k/a Lee Ann Fleissner
Case 3:18-cv-00017-NKM-JCH Document 188 Filed 02/18/20 Page 6 of 7 Pageid#: 2649



                                         /s/ Aaron J. Walker signed with permission by
                                         Anwar L. Graves
                                         Aaron J. Walker, Esq.
                                         VA Bar #48882
                                         DC Bar #481668
                                         P. O. Box 3075
                                         Manassas, VA 20108
                                         Telephone: (703) 216-0455
                                         Aaronjw1972@gmail.com

                                         Counsel For Defendants James Hoft, Scott
                                         Creighton, Derrick Wilburn, Michele
                                         Hickford, And Words-N-Ideas, LLC

                                         /s/ Lee Stranahan signed with permission by
                                         Anwar L. Graves
                                         Lee Stranahan
                                         1440 G Street, N.W.
                                         Washington, D.C. 20005
                                         stranahan@gmail.com

                                         Pro Se
Case 3:18-cv-00017-NKM-JCH Document 188 Filed 02/18/20 Page 7 of 7 Pageid#: 2650



                                  CERTIFICATE OF SERVICE


        I hereby certify that on this 18th day of February, 2020, a copy of the Proposed Scheduling

 Order was served on all parties via the Court’s Electronic Case Filing system, and separately sent

 via electronic mail to Mr. Lee Stranahan.




                                                               /s/ Anwar L. Graves
                                                                 Anwar L. Graves
